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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DAVID C. WARTH,

     Plaintiff,                           CIVIL ACTION FILE NO.
                                          1:23-cv-05072-MLB
v.

THOMAS WILLIAMSON,

Defendant.



 DEFENDANT’S EXHIBITS TO BRIEF IN SUPPORT OF MOTION FOR
                  SUMMARY JUDGMENT




                  EXHIBIT D – Thomas Williamson Affidavit
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